             Case 2:20-cv-00169 Document 5 Filed 01/07/20 Page 1 of 1 Page ID #:1286
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                    Central District of California                            on the following
      G Trademarks or         G Patents.    (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
          2:20-cv-00169                             01/07/2019                               Central District of California
PLAINTIFF                                                                    DEFENDANT
 SONOS, INC.                                                                   GOOGLE LLC




        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 8,588,949                                11/19/2013                  SONOS, INC.

2 9,195,258                                11/24/2015                  SONOS, INC.

3 9,219,959                                12/22/2015                  SONOS, INC.

4 10,209,953                               2/19/2019                   SONOS, INC.

5 10,439,896                               10/8/2019                   SONOS, INC.


                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G Answer            G Cross Bill     G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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3

4

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                        (BY) DEPUTY CLERK                                          DATE



Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
